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                                                                  FILED IN OPEN COURT
                                                                    U.S.D.C.-Atlanta


                  IN THE UNITED STATES DISTRICT COURT                       1 2 202'
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                                                                          H^TTEN<CJ^rk
                           ATLANTA DIVISION                                            5Tity Clerk



   UNITED STATES OF AMERICA

           V.                               Criminal Indictment

   RODERICQUE JARMAINE
                                                                       11
   THOMPSON A/K/A
     RODRIQUEZ THOMPSON/
     RODRICQUE THOMAS/
     JAMMIGE TROY THOMASON,
     JAMMIE TROY THOMPSON,
     JUNIOR THOMPSON
   MlCAH K. BAISDEN
   TRAVIS C. CROSBY
   KEITH A. MALONEY, JR.
   TABRONX W. SMITH
   THOMAS D. WlLSON



THE GRAND JURY CHARGES THAT:

                                    Background

   At times relevant to this Indicbaient:

                       The Defendants and Related Entities

      1. RODERICQUE JARMAINE THOMPSON A/ K/ A

RODRIQUEZ THOMPSON/ RODRICQUE THOMAS, JAMMIGE TROY

THOMASON, JAMMIE TROY THOMPSON, JUNIOR THOMPSON

("THOMPSON") was an individual residing in the Northern District of

Georgia.
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      2. MICAH K. BAISDEN (//BAISDEN//) was an individual residing

in the Northern District of Georgia who claimed sole ownership of PowerHouse

Sports Academy/ LLC (//PowerHouse//)/ a Georgia Limited Liability Company.

      3. TRAVIS C. CROSBY ("CROSBY") was an individual residing in

the District of South Carolina who claimed sole ownership of Faithful Transport

Services, LLC ("Faithful")/ a South Carolina Limited Liability Company.

      4. KEITH A. MALONEY/ JR. (//MALONEY//) was an individual

residing in the District of South Carolina who claimed sole ownership of KMJ

Transport/ LLC ( KMJ )/ a South Carolina Limited Liability Company.

      5. TABRONX W. SMITH ("SMITH") was an individual residing in the

Northern District of Georgia who claimed sole ownership of Market Yourself,

LLC ("Market Yourself"), a Georgia Limited Liability Company.

      6. THOMAS D. WILSON (//WILSON//) was an individual residing in

the Northern District of Georgia who claimed sole ownership of Rare Breed

Nation/ LLC ("Rare Breed"), a Georgia Limited Liability Company.

                          Additional Co-Conspirators

      7. Antonio D. Hosey ( Hosey ) was an individual residing in the

Northern District of Georgia.

                      The Small Business Administration

      8. The United States Small Business Administration ( SBA ) was an

executive branch agency of the United States government that provided support

to entrepreneurs and small businesses. The mission of the SBA was to mamtam

and strengthen the nation s economy by enabling the establishment and viability
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of small businesses and by assisting in the econonuc recovery of communities

after disasters.

       9. As part of this effort, the SBA enabled and provided for loans

through banks, credit unions, and other lenders. These loans had government-

backed guarantees.

                        The Pay check Protection Program

      10. The Coronavirus Aid, Relief/ and Economic Security ("CARES") Act

was a federal law enacted in or about March 2020 and was designed to provide

emergency financial assistance to the millions of Americans who are suffering

the economic effects caused by the COVID-19 pandemic.

      11. One source of relief that the CARES Act provided for was the

authorization of up to $349 billion in forgivable loans to small businesses for

payroll, mortgage interest, rent/lease, and utilities, through a program referred

to as the Paycheck Protection Program (//PPP//). In April 2020, Congress

authorized up to $310 billion in additional PPP funding.

      12. The PPP aUowed qualifying small businesses and other

organizations to receive PPP loans. Businesses must use PPP loan proceeds for

payroll costs/ interest on mortgages/ rent/ and utilities. The PPP allowed the

interest and principal on the PPP loan to be entirely forgiven if the business spent

the loan proceeds on these expense items within a designated period of time and

used a certain percentage of the PPP loan proceeds for payroll expenses.
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      13. The amount of a PPP loan that a smaU business may have been

entitled to receive was determined by the number of employees employed by the

business and the business/s average monthly payroll costs.

      14. In order to obtain a PPP loan/ a qualifying business was required to

submit a PPP loan application/ which was signed by an authorized

representative of the business. The PPP loan application required the business

(through its authorized representative) to acknowledge the program rules and

make certain affirmative certifications in order to be eligible to obtain the PPP

loan. In the PPP loan application, the small business (through its authorized

representative) had to state/ among other tMngs, its (a) average monthly payroll

expenses and (b) number of employees. These figures were used to calculate the

amount of money the small business was eligible to receive under the PPP. In

addition, businesses applying for a PPP loan had to provide documentation

showing their payroll expenses.

      15. The SBA oversaw the PPP. However, individual PPP loans were

issued by private, approved lenders who received and processed PPP

applications and supporting documentation/ and then made loans using the

lenders7 own funds, which were 100% guaranteed by the SBA. Data from the

application/ including information about the borrower/ the total amount of the

loan/ and the listed number of employees/ was transmitted by the lender to the

SBA in the course of processing the loan.
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                                Relevant Entities

      16. Financial Institution 1 was a Federal Deposit Insurance Corporation

(//FDIC//) insured financial institution headquartered in Fort Lee/ New Jersey.

Financial institution 1 participated in the PPP as a lender, and as such, was

authorized to lend funds to eligible borrowers under the terms of the PPP.

      17. Financial Institution 2 was an FDIC-insured financial institution

headquartered in Salt Lake City, Utah. Financial Institution 2 participated in the

PPP as a lender/ and as such/ was authorized to lend funds to eligible borrowers

under the terms of the PPP.

      18. Company 1 paired PPP applicants with lenders by collecting

applications, performing underwriting tasks/ and submitting approved

applications to SBA-approved lenders such as Financial Institutions 1-2 for

funding.

      19. Bank 1 was an FDIC-insured financial institution based in San

Francisco/ CaUfomia with branches throughout the United States.

      20. Bank 2 was an FDIC-insured fmancial institution based in Charlotte/

North Carolina with branches throughout the United States.

      21. Bank 3 was an FDIC-insured financial institution based in Vienna/

Virginia with branches throughout the United States.

      22. Bank 4 was an FDIC-msured financial institution based in Charlotte,

North Carolina with branches throughout the United States.
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                  The Scheme to fraudulently Obtain PPP Loans

      23. THOMPSON recruited BAISDEN/ CROSBY, MALONEY/ WILSON/

SMITH/ and others known and unknown to the Grand Jury/ to obtain PPP loans

that they were not eligible to receive.

      24. Under THOMPSON'S direction, BAISDEN/ CROSBY/

MALONEY/ WILSON/ and SMITH, each knowingly submitted/ and assisted

in the submission of an SBA Form 2483 PPP Loan Application to Banks 1-4,

through Company 1, that THOMPSON had partially completed/ bearing their

respective signatures, and containing false and fraudulent information about

their respective businesses, as set forth in the chart below.

                                          Amount of     # of      Monthly
                        Approx. Date
  DefendanVBusiness                         Loan      Employees   Payroll       Lender
                        of Submission
                                          Requested   Indicated   Indicated
                                                                                Financial
    MALONEY/KMJ          May 4/2020        $300/000      16       $120/000
                                                                              Institution 1
    SMTTH/Market                                                               Financial
                         May 6, 2020       $300,000      16       $120/000
       Yourself                                                               Lastitution 2
                                                                               Financial
  WlLSON/Rare Breed      May 8/ 2020       $300,000      16       $120,000
                                                                              Institution 1
                                                                               Financial
    CROSBY/Faithful      May 16,2020       $300/000      16       $120/000
                                                                              Institution 1
                                                                               Financial
 BAISDEN/ PowerHouse     May 20, 2020      $300/000      16       $120/000
                                                                              Institution 1


      25. As set forth in the chart below/ included with each loan


application were false and fraudulent IRS Form 941s (Employer s

Quarterly Federal Tax Returns) for each business/ which falsely

reflected that the business had paid wages/ tips/ and other compensation


of $358,819.00 to 16 employees in the quarter(s) indicated.
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                           Ql 2019            Q2 2019          Q3 2019          Q4 2019
  Defendanl/Business
                          Jan-Mar             Apr - Jun       Jul - Sep         Oct - Dec
    MALONEY/KMJ           $358,819.00     $358/819.00        $358/819.00       $358,819.00
 SMlTH/Market Yourself       N/A          $358/819.00             N/A             N/A
  WlLSON/Rare Breed          N/A          $358/819.00             N/A             N/A
    CROSBY/Faithful       $358/819.00           N/A               N/A             N/A
  BAISDEN/ Powerhouse     $358,819.00     $358,819.00        $358/819.00          N/A

      26. Based on the false and fraudulent representations and submissions


in the PPP loan applications, the IRS Form 941s (Employer's Quarterly Federal

Tax Returns), and other supporting documentation, submitted by BAISDEN,


CROSBY/ MALONEY/ WILSON/ and SMITH/ with THOMPSON'S assistance

and direction/ Financial Institutions 1-2 funded the requested PPP loans as


follows:


                            Approximate Date          Amount of PPP          Location of
   Defendanl/Business
                                Funded                     Loan            Deposit Account
     MALONEY/KMJ               May 4/2020                 $300,000             BankS
  SMFTH/Market Yourself        May 6,2020                 $300/000             Bank3
   WlLSON/Rare Breed           May 8/ 2020                $300/000             Bank 4
     CROSBY/Faithful           May 16,2020                $300/000             Bank 2
  BAlSDEN/PowerHouse           May 20, 2020               $300/000             Bank 1


      27. BAISDEN, CROSBY, MALONEY/ WILSON/ and SMITH had agreed

to pay THOMPSON a percentage of the loan amount, after the funds were


deposited into their respective businesses checking accounts at Banks 1-4.


      28. After the PPP loan funds were deposited in their respective


businesses' checking accounts at Banks 1-4, BAISDEN/ CROSBY/ MALONEY/


WILSON, and SMITH, acting in part on instructions from THOMPSON,

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used the PPP loan funds for non-qualifying, non-business-related


purposes, including by making checks out to individuals who did not work

for their respective businesses, in violation of the terms of the PPP loan program.


                                    Count One

                        Conspiracy to Commit Bank Fraud
                                 18 U.S.C. § 1349
                           (THOMPSON and BAISDEN)
      29. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraphs 1 through 28 of this Indictment as if fully set

forth herein.

      30. From in or about March 2020 through in or about June 2020, in the

Northern District of Georgia and elsewhere, THOMPSON and BAISDEN did

knowingly and wUlfuUy combine, conspire, confederate/ agree/ and have a tacit

understanding with each other and with others known and unknown to the

Grand Jury, to execute a scheme and artifice to defraud a financial institution/ the

deposits of which were insured by the FDIC, and to obtain money/ funds/ and

credits owned by and under the custody and control of the aforementioned

financial institution by means of materially false and fraudulent pretenses/

representations/ and promises and by the omission of material facts, in violation

of Title 18, United States Code, Section 1344.

                             Obiect of the Conspiracy

      31. The object of the conspiracy was for THOMPSON/ BAISDEN, and

others to fraudulently obtain a PPP loan, and to conceal the conspu-acy.




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                                Manner and Means

      32. The manner and means by which THOMPSON, BAISDEN, and

others sought to accomplish the objects of the conspiracy included/ among

others, the following:

      33. THOMPSON and BAISDEN conspired to submit and cause to be

submitted false and fraudulent documents, including an SBA Form 2483 PPP

Loan Application and IRS Form 941s (Quarterly Federal Tax Returns), to

Financial Institution 1 to obtain a $300/000 PPP loan for PowerHouse.

      34. As a result of and based on THOMPSON and BAISDEN's false

representations and certifications and falsified supporting documents/ Financial

Institution 1, a federally insured lender/ issued a $300,000 PPP loan to

PowerHouse.

      35. THOMPSON and BAISDEN further conspired to use the PPP loan

funds for non-business expenses, including by making payments to themselves

and individuals who did not work for PowerHouse/ in violation of the terms of

the PPP loan agreement.

   AU in violation of Title 18, United States Code, Section 1349.
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                                    Count Two

                         Conspiracy to Commit Bank Fraud
                                  18 U.S.C. § 1349
                           (THOMPSON and CROSBY)
      36. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraphs 1 through 28 of this Indictment as if fully set

forth herein.

      37. From in or about March 2020 through in or about June 2020, in the

Northern District of Georgia and elsewhere/ THOMPSON and CROSBY did

knowingly and willfully combine, conspire/ confederate, agree, and have a tacit

understanding with each other and with others known and unknown to the

Grand Jury, to execute a scheme and artifice to defraud a financial institution, the

deposits of which were insured by the FDIC, and to obtain money/ funds/ and

credits owned by and under the custody and control of the aforementioned

financial institution by means of materially false and fraudulent pretenses/

representations, and promises and by the omission of material facts/ in violation

of Title 18, United States Code/ Section 1344.

                             Obiect of the Conspiracy

      38. The object of the conspiracy was for THOMPSON/ CROSBY/ and

others to fraudulently obtain a PPP loan, and to conceal the conspiracy.

                               Manner and Means

      39. The manner and means by which THOMPSON/ CROSBY, and

others sought to accomplish the objects of the conspiracy included/ among

others/ the following:



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      40. THOMPSON and CROSBY conspired to submit and cause to be

submitted false and fraudulent documents, including an SBA Form 2483 PPP

Loan Application and IRS Form 941s (Quarterly Federal Tax Returns)/ to

Financial Institution 1 to obtain a $300,000 PPP loan for Faithful.

      41. As a result of and based on THOMPSON and CROSBY's false

representations and certifications and falsified supporting documents. Financial

Institution I/ a federally insured lender, issued a $300,000 PPP loan to Faithful.

      42. THOMPSON and CROSBY further conspired to use the PPP loan

funds for non-business expenses/ including by making payments to themselves

and individuals who did not work for Faithful, in violation of the terms of the

PPP loan agreement.

   All in violation of Title 18, United States Code, Section 1349.

                                    Count Three

                        Conspiracy to Commit Bank Fraud
                                 18 U.S.C. § 1349
                          (THOMPSON and MALONEY)
      43. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraphs 1 through 28 of this Indictment as if fuUy set

forth herein.

      44. From in or about March 2020 through in or about June 2020, in the

Northern District of Georgia and elsewhere, THOMPSON and MALONEY did

knowingly and willfuUy combine/ conspire, confederate/ agree/ and have a tacit

understanding with each other and with others known and unknown to the

Grand Jury to execute a scheme and artifice to defraud a financial institution/ the


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deposits of which were insured by the FDIC, and to obtain money, funds, and

credits owned by and under the custody and control of the aforementioned

financial institution by means of materially false and fraudulent pretenses/

representations, and promises and by the omission of material facts/ in violation

of Title 18, United States Code, Section 1344.

                             Obiect of the Consptracv

      45. The object of the conspiracy was for THOMPSON, MALONEY/ and

others to fraudulently obtain a PPP loan/ and to conceal the conspiracy.

                               Manner and Means

      46. The manner and means by which THOMPSON/ MALONEY, and

others sought to accomplish the objects of the conspiracy included/ among

others/ the following:

      47. THOMPSON and MALONEY conspired to submit and cause to be

submitted false and fraudulent documents, including an SBA Form 2483 PPP

Loan Application and IRS Form 941s (Quarterly Federal Tax Returns), to

Financial Institution 1 to obtain a $300/000 PPP loan for KMJ.

      48. As a result of and based on THOMPSON and MALONEY's false

representations and certifications and falsified supporting documents. Financial

Institution I/ a federally insured lender/ issued a $300/000 PPP loan to KMJ.

      49. THOMPSON and MALONEY further conspired to use the PPP loan

funds for non-business expenses/ including by making payments to themselves

and individuals who did not work for KMJ, in violation of the terms of the PPP

loan agreement.



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   AH in violation of Title 18, United States Code/ Section 1349.

                                    Count Four

                        Conspiracy to Commit Bank Fraud
                                 18 U.S.C. § 1349
                            (THOMPSON and SMITH)
      50. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraphs 1 through 28 of this Indictment as if fully set

forth herein.

      51. From in or about March 2020 through in or about June 2020, in the

Northern District of Georgia and elsewhere, THOMPSON and SMITH did

knowingly and willfully combine, conspire/ confederate, agree, and have a tacit

understanding with each other and with others known and unknown to the

Grand Jury to execute a scheme and artifice to defraud a financial institution/ the

deposits of which were insured by the FDIC, and to obtain money, funds, and

credits owned by and under the custody and control of the aforementioned

financial institution by means of materially false and fraudulent pretenses,

representations/ and promises and by the omission of material facts/ in violation

of Title 18, United States Code, Section 1344.

                             Obiect of the Conspiracy

      52. The object of the conspiracy was for THOMPSON, SMITH, and

others to fraudulently obtain a PPP loan, and to conceal the conspiracy.




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                                Manner and Means

      53. The manner and means by which THOMPSON/ SMITH, and others

sought to accomplish the objects of the conspiracy included, among others/ the

following:

      54. THOMPSON and SMITH conspired to submit and cause to be

submitted false and fraudulent documents/ including an SBA Form 2483 PPP

Loan Application and IRS Form 941s (Quarterly Federal Tax Returns), to

Financial Institution 2 to obtain a $300,000 PPP loan for Market Yourself.

      55. As a result of and based on THOMPSON and SMITH'S false

representations and certifications and falsified supporting documents/ Financial

Institution 2/ a federally insured lender, issued a $300/000 PPP loan to Market

Yourself.

      56. THOMPSON and SMITH further conspired to use the PPP loan

funds for non-business expenses/ including by making payments to themselves

and individuals who did not work for Market Yourself/ in violation of the terms

of the PPP loan agreement.

   All in violation of Title 18, United States Code, Section 1349.




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                                    Count Five

                        Conspiracy to Commit Bank Fraud
                                  18 U.S.C. § 1349
                           (THOMPSON and WILSON)
      57. The Grand Jury re-aUeges and incorporates by reference the factual

allegations contained in paragraphs 1 through 28 of this Indictment as if fully set

forth herein.

      58. From in or about March 2020 through in or about June 2020, in the

Northern District of Georgia and elsewhere, THOMPSON and WILSON did

knowingly and wUlfully combine/ conspire, confederate, agree, and have a tacit

understanding with each other and with others known and unknown to the

Grand Jury to execute a scheme and artifice to defraud a financial institution, the

deposits of which were insured by the FDIC, and to obtain money, funds/ and

credits owned by and under the custody and control of the aforementioned

financial institution by means of materially false and fraudulent pretenses/

representations/ and promises and by the omission of material facts, in violation

of Tide 18, United States Code, Section 1344.

                            Object of the Conspiracy

      59. The object of the conspiracy was for THOMPSON/ WILSON/ and

others to fraudulently obtain a PPP loan/ and to conceal the conspiracy.




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                                Manner and Means

         60. The manner and means by which THOMPSON/ WILSON/ and

others sought to accomplish the objects of the conspiracy included, among

others, the following:

         61. THOMPSON and WILSON conspired to submit and cause to be

submitted false and fraudulent documents/ including an SBA Form 2483 PPP

Loan Application and IRS Form 941s (Quarterly Federal Tax Returns), to

Financial Institution 1 to obtain a $300,000 PPP loan for Rare Breed.

         62. As a result of and based on THOMSON and WILSON/s false

representations and certifications and falsified supporting documents. Financial

Institution 1, a federally insured lender, issued a $300/000 PPP loan to Rare

Breed.

         63. THOMPSON and WILSON further conspired to use the PPP loan

funds for non-business expenses/ including by making payments to themselves

and individuals who did not work for Rare Breed in violation of the terms of the

PPP loan agreement.

   All in violation of Title 18, United States Code/ Section 1349.

                                 Counts Six to Ten
                                    Bank Fraud
                              18 U.S.C. § 1344 and § 2

      64. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraphs 1 through 28 this Indictment as if fuUy set

forth herein.




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        65. On or about the dates set forth m the chart below/ in the Northern

District of Georgia and elsewhere, BAISDEN, CROSBY, MALONEY,

WILSON, SMITH/ and THOMPSON/ and others known and unknown to the

Grand Jury/ did knowingly execute and attempt to execute a scheme and artifice

to defraud Financial Institutions 1-2, the deposits of which were then insured by

the FDIC/ and to obtain, by means of materially false and fraudulent pretenses,

representations/ and promises, and by omission of material facts/ certain moneys,

funds, credits, assets/ securities, and other property owned by and under the

custody and control of Financial Institutions 1-2.
                            Approximate
             Defendant                           Actof
 Count                        Date of                        Financial Institution
             (Business)                        Execution
                             Execution                I
            THOMPSON/                      Submission of
   6         MALONEY        May 4/ 2020         PPP Loan     Financial Institution 1
               (KMJ)                           Application
            THOMPSON/
                                           Submission of
               SMITH
   7                        May 6/ 2020         PPP Loan     Financial Institution 2
              (Market
                                               Application
              Yourself)
            THOMPSON/                      Submission of
   8          WILSON        May 8/ 2020      PPP Loan        Financial Institution 1
             (Rare Breed)                      Application
            THOMPSON/                      Submission of
   9          CROSBY        May 16,2020         PPP Loan     Financial Institution 1
              (Faithful)                       Application
            THOMPSON/                      Submission of
  10         BAISDEN        May 20,2020         PPP Loan     Financial Institution 1
            (PowerHouse)                       Application

   All in violation of Title 18, United States Code, Section 1344 and Section 2.




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                                   Counts Eleven to Fifteen

                       False Statement to a Federally Insured Bank
                                   18 U.S.C. § 1014 and § 2

         66. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraphs 1 through 28 this Indictment as if fully set

forth herein.

         67. On or about the dates set forth in the chart below/ in the Northern

District of Georgia and elsewhere, BAISDEN/ CROSBY, MALONEY,

WILSON/ SMITH, and THOMPSON/ and others/ known and unknown to the

Grand Jury, knowingly made, and caused to be made, a false statement for the

purpose of influencing the actions of Financial Institutions 1-2, financial

institutions the accounts of which were insured by the FDIC, in connection with

PPP loan applications, as follows:




                                                                                    KSSBSHK
   11      MALONEY/       May 4,        False statements in the PPP Borrower
           THOMPSON        2020        Application Form and other documents
                                       submitted with the KMJ loan application
   12        SMITH/       May 6,        False statements in the PPP Borrower
           THOMPSON        2020         Application Form and other documents
                                       submitted with the Market Yourself loan
                                                     application
  13        WlLSON/       May 8,        False statements in the PPP Borrower
           THOMPSON        2020        Application Form and other documents
                                         submitted with the Rare Breed loan
                                                     application
  14        CROSBY,      May 16,        False statements in the PPP Borrower
           THOMPSON        2020        Application Form and other documents
                                     submitted with the Faithful loan application
  15        BAISDEN/     May 20,        False statements in the PPP Borrower
           THOMPSON        2020        AppUcation Form; and other documents
                                        submitted with the Powerhouse loan
                                                     application
                                               18
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   All in violation of Title 18, United States Code, Section 1014 and

Section 2.
                             Counts Sixteen to Twenty
                                  Money Laundering
                         18 U.S.C. § 1956(a)(l)(B)(i) and § 2
        68. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained m paragraphs 1 through 28 of this Indictment as if fully set

forth herein.

        69. On or about the dates set forth in the chart below, in the Northern

District of Georgia and elsewhere/ BAISDEN/ GROSBY/ MALONEY/

WILSON/ SMITH/ and THOMPSON/ and others known and unknown to the

Grand Jury, knowingly conducted and attempted to conduct a financial

transaction affecting interstate commerce, which involved the proceeds of a

specified unlawful activity, that is, bank fraud/ in violation of Title 18, United

States Code/ Section 1344, and wire fraud, in violation of Title 18, United States

Code, Section 1343, knowing that the transaction was designed in whole and in

part to conceal and disguise the nature, location, source/ ownership, and control

of the proceeds of specified unlawful activity, and while conducting and

attempting to conduct such financial transaction knowing that the property

involved in the financial transaction represented the proceeds of some form of

unlawful activity:




   16      BAISDEN        May 22,2020      A check bearing Baisden s signature made out to
                                            an individual who did not work for defendant's
                                               company -was cashed at a bank in the Northern
                                                            District of Georgia

                                          19
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   17         SMITH,       May II/ 2020    A check bearing Smith's signature made out to an
             THOMPSON                        individual who did not work for defendant's
                                               company was cashed at a bank in the Northern
                                                             District of Georgia
   18        MALONEY/      May 12,2020     A check bearing Maloney's signature made out to
             THOMPSON                          an individual who did not work for defendant's
                                               company was cashed at a bank in the Northern
                                                           District of Georgia
   19         WILSON,      May 14,2020     A check bearing Wilson's signature made out to an
             THOMPSON                         individual who did not work for defendant's
                                               company was cashed at a bank in the Northern
                                                           District of Georgia
   20         CROSBY/      May 28,2020     A check bearing Crosby's signature made out to an
          THOMPSON                            individual who did not work for defendant's
                                               company was cashed at a bank in the Northern
                                                             District of Georgia

   All in violation of Title 18, United States Code, Section 1956(a)(l)(B)(i) and

Section 2.


                                      Forfeiture

        Upon conviction of one or more of the offenses alleged in Counts One

through Fifteen of this Indictment, the defendants, THOMPSON, BAISDEN/

CROSBY, MALONEY, SMITH/ and WILSON, shall forfeit to the United States/

pursuant to Title 18, United States Code, Sections 982(a)(2), any property

constituting, or derived from/ proceeds the person obtained directly or indirectly

as the result of such violation, inchiding but not limited to the following:

        (a) MONEY JUDGMENT: A sum of money in United States currency,

               representing the amount of proceeds obtained as a result of the

               offenses alleged in Counts One through Ten of this Indictment.




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      (b) FUNDS:
             1. $3/990.89 in funds from Bank Account Number ending 1965 held

                in the name of Rare Breed Nation LLC/ at Bank of America/

                Atlanta, Georgia (20-FBI-004483);

             2. $99/002.09 in funds from Bank Account Number ending 4940

                held in the name of Rare Breed Nation/ LLC at Bank of America/

                Atlanta/ Georgia (20-FBI-004535),

             3. $88,298.05 in funds from Bank Account Number ending 2822

                held in the name of Faithful Transport Sendces LLC, at BB&T

                Bank, Atlanta, Georgia (20-FBI-004611);

            4. $46/244.93 m funds from Bank Account Number ending 1484

                held in the name of Powerhouse Sports Academy/ LLC at Wells

                Fargo Bank/ Chamblee/ Georgia (20-FBI-004770).

   Upon conviction of one or more of the offenses alleged m Counts Sixteen

through Twenty of this Indictment, the defendants/ THOMPSON, BAISDEN/

CROSBY, MALONEY/ SMITH, and WILSON/ shall forfeit to the United States/

pursuant to Title 18, United States Code/ Sections 982(a)(l), any property, real or

personal, invcdved in such offense, or any property traceable to such property/

including but not limited to the following:

      (a) MONEY JUDGMENT: A sum of money in United States currency/

            representing the amount of proceeds obtained as a result of the

            offenses alleged in Counts One through Ten of this Indictment.




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       (b) FUNDS:
              1. $3/990.89 in funds from Bank Account Number ending 1965 held

                 in the name of Rare Breed Nation LLC/ at Bank of America/

                 Atlanta/ Georgia (20-FBI-004483);

              2. $99/002.09 in funds from Bank Account Number ending 4940

                 held in the name of Rare Breed Nation, LLC at Bank of America/

                 Atlanta, Georgia (20-FBI-004535);

              3. $88,298.05 in funds from Bank Account Number ending 2822

                 held in the name of Faithful Transport Services LLC/ at BB&T

                 Bank, Atlanta/ Georgia (20-FBI-004611);

              4. $46,244.93 in funds from Bank Account Number ending 1484

                 held in the name of Powerhouse Sports Academy/ LLC at Wells

                 Fargo Bank/ Chamblee, Georgia (20-FBI-004770).

   If/ as a result of any act or omission of a defendant, any property subject to

forfeiture:

       (a) cannot be located upon the exercise of due diligence;

       (b) has been transferred or sold to, or deposited with, a third party;

       (c) has been placed beyond the jurisdiction of the Court;

       (d) has been substantially diminished in value; or

       (e) has been commingled with other property which cannot be divided

              without difficulty;

   the United States intends, pursuant to Title 21, United States Code, Section

   853(p), as incorporated by Title 18, United States Code, Section 982(b)(l), to


                                         22
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  seek forfeiture of any other property of the Defendants up to the value of the

  forfeitable property.




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                                                                           BILL



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BOBBY L. CHRISTINE
  acting United States Attorney


  IANE C. SCHUCM^N
 Special Assistant United States Attorney
Georgia Bar No. 497764


600 U.S. Courthouse
75 Ted Turner Drive SW
Atlanta, GA 30303
404-581-6000; Fax: 404-581-6181


DANIEL S. KAHN
 Acting Chief, Fraud Section
 U.S. Department of Justice
N.Y, Bar No/'4'^96143

^.L
MICHAEL p. MCCARTHY
 Trial Attorney, Fraud Section
 LT.S. Department of Justice
D.C. Bar No. 1020231


1400 New York Ave/ NW
Bond Building/ llth Floor
Washington, DC 20005
202-514-2000; Fax: 202-514-3708


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